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                UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

AVERY GOSS,
    Plaintiff,

vs.                                          Case No.: 3:20cv5369/LAC/EMT

SCOTT DUNCAN
and AMY C. SHEA,
     Defendants.
____________________________________/

                                     ORDER

      The chief magistrate judge issued a Report and Recommendation on

September 14, 2020 (ECF No. 14). Plaintiff was furnished a copy of the Report and

Recommendation and afforded an opportunity to file objections pursuant to Title 28,

United States Code, Section 636(b)(1). No objections have been filed.

      Having considered the Report and Recommendation, I have determined it

should be adopted.

      Accordingly, it is ORDERED:

      1.     The chief magistrate judge’s Report and Recommendation (ECF No.

14) is adopted and incorporated by reference in this order.

      2.     Plaintiff’s claims against Defendants are DISMISSED with prejudice,

pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii)–(iii) and § 1915A(b)(1)–(2).
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       3.     The clerk of court must enter judgment accordingly and close the case.

       DONE AND ORDERED this 16th day of October, 2020.




                                 s /L.A. Collier
                                 LACEY A. COLLIER
                                 SENIOR UNITED STATES DISTRICT JUDGE




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